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                                     UNITED ST ATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF FLORIDA

IN RE:   P,'f P.ON V . l='L.l>RE.S                                       Case# 2.0 -IS 3 2. 0 (.p\ t

             TRUSTEE'S NOTICE OF DEFICIENCY FOR CONFIRMATION (legal issues: 341)

The Trustee reviewed this case for the meeting of creditors and found the following deficiencies from the Trustee's
Notice of Required Documents, prior deficiencies, and legal issues and thus objects as follows:
Trustee reserves the right to raise additional objections until all requested documents are timely provided.
                                                        Reviewed documents received as of _ _ _ _ _ __

>c'0bjection to Exemption (specifics to be filed) to be heard with confirmation at 1:30 pm not at 9:00 am
CFee application needed (see court guideline 6)
   Ch 7 is$                   may increase as documents not provided 0 Tax refund 0 Valuations 0 Other
_ Good faith payment to unsecured creditors
_Income understated per debtor's stubs$             taxes$                    co-debtor stubs$        taxes$ _ __
_ Proofof household size (government ID w/ address) and income of all adults disclosed on Sch J and CMI
_Spouse's pay advices
_ Schedule J Expenses objectionable: 0 Provide Proof line                                  0 Line _ _ _ _ _ __
         0 Object to Schedule J expenses but debtor(s) are over median or 100% plan filed
jcExpenses; documentation/calculation: CMI line _.,..~_,,,b._,o,,,_,c--~/;~¢-r------4-/<.~~--;--;J~,~~"'5~-----------


_Plan does not pay debtor's calculation of disposable income CMI/DI                x 60 = $ _ _ _ __
   D Pending income/expenses issues D Trustee believes D/I is understated (estimated D/I $ _ _ _ _ _~
D Feasibility or 0 plan payments reduce month _ _ _ or D balloon payment
_Plan does not conform to Applicable Commitment Period < 36 months< 60 months
   Info on transfer SOFA              undisclosed               0 provide Tolling Agreement(s)
Other:
   ~,~-~-;-,-,--C~~~c-,~--7--~~~~~~~~~~~~~~-

   .Z2.ie    ~           ,f2!t:'Hc/r..-




                                                                                  D Plan includes 100% Language

On or before 5 pm on     irrOf 2 f' 2Qll ,   all docµments/explanations with documented back up must be
received/filed to avoid dismissal. If documents are not timely filed/received by the trustee, the trustee may seek
dismissal of this case. IMPORTANT NOTICE: The debtor or debtor's attorney must appear at the confirmation
hearing even i[they agree to the recommendation. The debtor may still be dismissed for failure to fund the plan if they
are delinquent in payments.
THE PRO SE DEBTOR OR DEBTOR'S ATTORNEY MUST CONTACT THE TRUSTEE'S OFFICE AND SPEAK
TO AN ATTORNEY BEFORE 2PM ONE BUSINESS DAY PRIOR TO THE CONFIRMATION HEARING TO
RESOLVE ALL OUTSTANDING ISSUES. Attorneys must upload all documents to Trustee through
13Documents.com.

         I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor's attorney
or by U.S. First Class pre-paid Mail on the pro se debtor on the same day filed with the Court.
 Submitted by
NANCY K. NEIDICH, ESQ, ST ANDING CHAPTER 13 TRUSTEE P .0. BOX 279806, MIRAMAR, FL 33027
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    RE: Byron V Flores                                                                                              Case # 20-15320 LM[
           TRUSTEE'S NOTICE OF DEFICIENCY FOR CONFIRMATION AND RECOMMENDATION (Pre 341)
        The Trustee reviewed this case for the meeting of creditors and found the following deficiencies from the Trustee's letter requesting
                               documents and thus objects as follows: Reviewed documents received prior to: 6/4/20
        Tax returns:                                               Corporate Tax Returns:
        Photo ID/SS card                     LF90                        LF 67     LF 10
        Plan does not fund properly
        Calculation errors              Missing months/amounts              Inconsistent terms     Plan form completed incorrectly
        Attorney fee itemization or Fee Application needed (see court guideline 6)
         Missing 2016(B)
        Other provisions:              IVL                    100%          Lawsuit      Gambling       MMM
        Reaffirm, redeem or surrender Sch D or G creditor:
        MMM Motion not filed                      Valuation motion not filed                     Lien Avoidance motion not filed
        Priority debt on Schedule E not in plan:
        Creditor in Plan is not listed in Schedules or has not filed a POC:
'~!mi' ~mci rm'afl~!I m~ Pm!'! !'l!i§ ~l.'l'!i'~~
  ./ Object or Conform to Proof of Claim:                     Miami-Dade County            Tax Certificate (DE#          Dept of Revenue
         X IRS                                   ./ Acar #2 US Bank #4
 ./     OTHER PLAN ISSUES: Creditor name & address does not match POC#4

         Creditor acct no. does not match POC#6
         Section IV-B. Combine IRS payments
         Section VIII. Box not check to reference "NONE"


        Real Estate FMV and Payoff:
        Non-Homestead Information Sheet:


        Other:
  ./    Bank Account Statements                    3 months pre-petition
        #9775 (5/1-5/14/20)


        Copy of check(s) and/or explanation:
        Explanation ofwithdrawal(s):
'"'r''"2!'\3'i'"l'7~e1irni1wnt,llil1JnsisW>t..                    Annuity                             Life Insurance Policy
       Domestic Support Obligation form complete with info: name, address and phone
  ./ Wage deduction order or Motion to waive
        BDQ & attachments                                  Profit/loss       Balance Sheet
       Business Bank statements and checks                    3 months pre-petition



      Affidavit of support
       Trustee reserves the right to raise additional objects until all requested documents are timely provided. This deficiency is limited to
    missing documents only. The Trustee will file a Notice of Deficiency with additional document requested and legal issues raised after the
       341 - meeting of creditors. I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor's
                     attorney or by U.S. First Class pre-paid Mail on the prose debtor on the same day filed with the Court.
         Submitted by NANCY K. NEIDICH, ESQ, ST ANDING CHAPTER 13 TRUSTEE P.O. BOX 279806, MIRAMAR, FL 33027
       *DOCUMENTS MUST BE RECEIVED OR FILED AND ISSUES ADDRESSED AT LEAST FOURTEEN DAYS PRIOR TO EACH
                                     CONFIRMATION HEARING TO AVOID DISMISSAL*
